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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY
                             ----------x
DOROTHY MCCULLOUGH,                      :

                                                          CERTIFIED STATEMENT
                               Plaintiff,                 OF RICHARD S. SIEGEL IN
                                                          SUPPORT OF UNOPPOSED
                V                                         MOTION FOR ADMISSION
                                                          PRO HAC WCE
UFCV/ LOCAL 152 RETAIL MEAT
PENSION FUND,
                                                          Civil Action No:
                               Defèndant.                 I :17 -cv -06578-NLH-KMW
                                                    X


       Pursuant     to Local Rule 101.1(cXl), I, Richard S. Siegel, hereby certify that I am a

member of the Bars of the District of Columbia and the State of Maryland.

       As permitted by Local Rule 101.1(c)(1), in lieu of providing the information required by

that Rule, certificates of good standing for my admission to those Bars are attached as Exhibit   1



to the Unopposed Motion for Admission Pro Hac Vice (ECF #12-I).

       I   further certify that that no disciplinary proceedings are pending against me in any

jurisdiction and no discipline has previously been imposed on me in any jurisdiction.

       I understand that upon my admission pro hac vice,I shall have the continuing obligation

during the period of such admission promptly to advise the Court of the disposition made of

pending charges or of the institution of new disciplinary proceedings.

Dated: October 3,2017                        Respectfully



                                             Richard S.
                                             SLEVIN &          , P.C.
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                                             rsiegel@slevinhart. com
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                                  CERTIFICATE OF'SERVICE,

         I   hereby certify that on this 3rd day of October, 2017,        I filed the foregoing Certified
Statement of Richard S. Siegel in Support of Unopposed Motion for Admission Pro Høc Vice via

the Court's ECF system which     will   send notice of   filing to all counsel of record.

                                                           lsl Fredrick M.
                                                           Fredrick M, Marx

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